
710 S.E.2d 31 (2011)
STATE of North Carolina
v.
Gregory Lionel KING.
No. 55P11.
Supreme Court of North Carolina.
June 15, 2011.
Kevin P. Bradley, Durham, for King, Gregory Lionel.
Tom Pitman, Special Deputy Attorney General, for State of N.C.
Garland N. Yates, District Attorney, for State of N.C.

ORDER
Upon consideration of the petition filed on the 7th of February 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
JACKSON, J. recused.
